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UN|TED STATES DlSTR|CT COURT FH_ED BY op
WESTERN D|STRICT OF TENNESSEE ”"` m

UN|TED STATES OF AMER|CA

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-v- 2:050|=:20165-01-|3’/
2:04cR2044a-03-B

 

KENNETH CRENSHAW
Lee Gerald, CJA
Defense Attorney
8 South Third Street, 4"‘ Floor
Nlemphis, TN 38103

 

JUDGIVIENT IN A CR|N||NAL CASE
(For Offenses Committed On or Atter November 1, 1987)

The defendant pleaded guilty to Count 1 of the information on April 28, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense:

 

Date Count
Tit|e & Se¢tion Nature of Offense Offense Number(sj
Concluded
18 U.S.C. § 4 Nlisprision of a Fe|ony 11/05/2004 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

Pending indictment in 2:O4cr20448-03 is dismissed as to Kenneth Crenshaw, on the motion of the
United States.

|T lS FURTHER ORDEFIED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 12/09/ 1980 August 04, 2005
Deft’s U.S. |Vlarshal No.: 91077-020

Defendant’s Nlailing Address:
2135 Deerfield, #8
Memphis, TN 38134

/j§wt

J. DANiEL BREEN
uNr ED sTATEs cisTFucT JUDGE

This document entered on the docket heat in complian
Wim sure 55 and/ur 32(bj mch nn 5 » 5 ~Q$" Ce 0

 

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lIV|PFllSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 8 IVionths.

The Court recommends to the Bureau of Prisons;
- Piacement at Mi|iington, Tennessee.

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States i\/iarshai.

RETURN

i have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES iViAFtSH/-\L
By:

 

Deputy U.S. i\/iarsha|

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SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 1 Year.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised reiease, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or othercontroi|ed substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law

enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Pena|ties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1) Participate in substance abuse testing and treatment programs as directed by the Probation
Officer.

2) Cooperate with DNA collection as directed by the Probation Officer.

CR|MINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3812(f). Ail of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

 

Totai Assessment Totai Fine Totai Restitution
$100.00

The Speciai Assessment shall be due immediately

F|NE
No fine imposed.

RESTITUT|ON
No Flestitution Was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20165 Was distributed by faX, mail, or direct printing on
August 5, 2005 to the parties listed.

 

 

Lee HoWard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

Memphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

